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 LAW OFFICES OF ALLEN A. KOLBER, ESQ.         Hearing Date: November 6, 2019
 Attorneys for Debtor                         Hearing Time: 10:00 a.m.
 134 Rt. 59, Suite A
 Suffern, NY 10901
 (845) 918-1277
 Allen A. Kolber, Esq. (AK0243)

 UNITED STATES BANKRUPTCY COURT
 SOUTHERN DISTRICT OF NEW YORK
 ________________________________________x
 In Re:                                                      Chapter 13

 PAULETTE FRANCESE,                                          Case No. 19-23205(shl)

                               Debtor.
 ________________________________________x

   NOTICE OF HEARING ON A MOTION FOR AN ORDER GRANTING RELIEF FROM
  THE AUTOMATIC STAY AND PERMISSIVE ABSTENTION RELATING TO APPEAL OF
     FEDERAL NATIONAL MORTGAGE ASSOCIATION, PLAINTIFF/RESPONDENT V.
            PAULETTE FRANCESE, ET AL., DEFENDANTS/APPELLANTS
       PENDING IN THE NEW YORK SUPREME COURT, APPELLATE DIVISION
             SECOND DEPARTMENT APPEAL DOCKET NO. 2019-7103

 S I R S:

        PLEASE TAKE NOTICE that the upon the annexed Affidavit of Debtor PAULETTE

 FRANCESE, and her attorney, Allen A. Kolber, Esq., and all Exhibits therein, seeking the entry of

 an Order pursuant to 28 U.S.C. §§ 1334(c) and 1452(b) and Federal Rule of Bankruptcy Procedure

 5011 (“Bankruptcy Rules”), a hearing will be held on November 6, 2019, at 10:00 a.m. before the

 Honorable Sean H. Lane, United States Bankruptcy Judge, at the United States Bankruptcy Court

 for the Southern District of New York, 300 Quarropas Street, White Plains, New York 10601, as

 follows:

        a.   Granting Debtor relief from the automatic stay pursuant to 11 U.S.C. § 362 to

             the extent that the Appeal of Federal National Mortgage Association.,

             Plaintiff/Respondent v. Paulette Francese, et al., Defendants/Appellants ,

             Appeal Docket No. 2019-7103 pending in the New York Supreme Court,

             Appellate Division, Second Department can be perfected to decision;
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        b.   Granting Debtor relief from the automatic stay pursuant to 11 U.S.C. § 362 to

             the extent that Defendants/Appellants’ Order to Show Cause filed in the New

             York Supreme Court, Appellate Division, Second Department originally

             returnable on July 1, 2019 for a stay of the foreclosure sale of the premises

             known as 96 Gilbert Avenue, Pearl River, New York pursuant to CPLR

             §2201 and CPLR §5519 pending in the New York Supreme Court, Appellate

             Division, Second Department can be heard and decided;

        c.   pursuant to 28 U.S.C. § 1334(c) and Bankruptcy Rule 5011(b) abstaining

             from the determination of hearing the appeal of Federal National Mortgage

             Association., Plaintiff/Respondent v. Paulette Francese, et al.,

             Defendants/Appellants , Appeal Docket No. 2019-7103 pending In the New

             York Supreme Court, Appellate Division, Second Department;

        d.   For such other and further relief as to this Court may seem just and proper.

        PLEASE TAKE FURTHER NOTICE that objections, if any, to the relief Debtor seeks

 to obtain must be in writing, conform to the requirements of the Bankruptcy code, the Bankruptcy

 Rules and the Local Rules of the United States Bankruptcy Court for the Southern District of

 New York, and must be filed and served no later than three (3) business days prior to the hearing

 date (“Objection Deadline”).

        PLEASE TAKE FURTHER NOTICE that pursuant to General Order M-182, any

 objection filed by parties with representation shall be filed on or before the objection Deadline (i)

 through the Bankruptcy Court’s Electronic Filing System which may be accessed at the

 Bankruptcy Court’s internet web at http://www.nysb.uscourts.gov, and (ii) in portable document

 format (PDF) using Adobe Exchange Software for conversion.

        PLEASE TAKE FURTHER NOTICE that any party that is either without legal

 representation, or that is unable to file documents electronically or create documents in PDF
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 format, shall file its objection on or before the objection Deadline in either Word, WordPerfect or

 DOS text (ASCII) format on 3-1/2” floppy diskette in an envelope clearly marked with the case

 name, case number, type and title of document, document number of the document to which the

 objection refers and the file name of the documents.

          PLEASE TAKE FURTHER NOTICE that a “hard copy” of any objections must be

 hand delivered to the Chambers of the Honorable Sean H. Lane at the United States Bankruptcy

 Court, 300 Quarropas Street, White Plains, New York 10601 on or before the Objection Deadline.

          PLEASE TAKE FURTHER NOTICE that objections, if any, must be served in

 accordance with the provisions of General Order M-182 so that they are received on or before the

 Objection Deadline by the Law Offices of Allen A. Kolber, Esq., 134 Rt. 59, Suffern, New York,

 10901.

 Dated: Rockland County, New York
        August 22, 2019

                                              LAW OFFICES OF ALLEN A. KOLBER, ESQ.

                                              /s/ Allen A. Kolber
                                                  ALLEN A. KOLBER, ESQ.
                                                  Attorney for Debtor PAULETTE FRANCESE
                                                  134 Rt. 59
                                                  Suffern, NY 10901
                                                  (845) 918-1277

 TO:      U.S. Trustee's Office
          U.S. Federal Office Building
          201 Varick St., Room 1006
          New York, NY 10014

          Krista M. Preuss. Esq.
          Chapter 13 Trustee
          399 Knollwood Road, Suite 102
          White Plains, NY 10603




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       Amanie Akarah, Esq.
       Stephen Vargas, Esq.
       GROSS POLOWY, LLC
       Appellate Attorneys for Plaintiff Federal National Mortgage Association
        in State Court Action
       1775 Wehrle Drive, Suite 100, Williamsville, NY 14221

       Jonathan Schwalb, Esq.
       FRIEDMAN VARTOLO, LLP
       Attorneys for SN Servicing Corporation
       85 Broad Street, Suite 501 New York, NY 10004

       Aprilanne Agostino
       Clerk of the Court
       Appellate Division, Second Department
       45 Monroe Place
       Brooklyn, New York 11201

       ALL PARTIES WHO HAVE FILED A NOTICE OF APPEARANCE IN THIS CASE
       AND PARTIES OF INTEREST LISTED ON THE ANNEXED SERVICE LIST




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 LAW OFFICES OF ALLEN A. KOLBER, ESQ.         Hearing Date: November 6, 2019
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 Allen A. Kolber, Esq. (AK0243)

 UNITED STATES BANKRUPTCY COURT
 SOUTHERN DISTRICT OF NEW YORK
 ________________________________________x
 In Re:                                                        Chapter 13

 PAULETTE FRANCESE,                                            Case No. 19-23205(shl)

                               Debtor.
 ________________________________________x

 APPLICATION TO LIFT THE AUTOMATIC STAY AND FOR PERMISSIVE ABSTENTION
                         RELATING TO APPEAL OF
    FEDERAL NATIONAL MORTGAGE ASSOCIATION, PLAINTIFF/RESPONDENT V.
           PAULETTE FRANCESE, ET AL., DEFENDANTS/APPELLANTS
      PENDING IN THE NEW YORK SUPREME COURT, APPELLATE DIVISION
             SECOND DEPARTMENT APPEAL DOCKET No. 2019-7103

 S I R S:


        ALLEN A. KOLBER, in support of Debtor’s motion pursuant to 11 U.S.C. § 362 to

 perfect the Appeal of Federal National Mortgage Association., Plaintiff/Respondent v. Paulette

 Francese, et al., Defendants/Appellants , pending in the New York Supreme Court Appellate

 Division, Second Department, Docket No. 2019-7103, affirms under the penalties of perjury as

 follows:

 Background and Jurisdiction

        1.      On April 25, 2019, the Supreme Court, Rockland County denied Defendant/Debtor’s

 Order to Show Cause for an Order, inter alia, to vacate the Order of Reference and Judgment of

 Foreclosure and Sale and to dismiss the Complaint in its entirety for lack of jurisdiction in the

 foreclosure action entitled Federal National Mortgage Association v. Paulette Francese, et al., Index

 No. 000514/2010.


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        2.      On May 20, 2019, Defendant/Debtor filed a Notice of Appeal from the Supreme

 Court’s Order (See Order dated April 25 2019 and Notice of Appeal dated May 14, 2019 annexed

 here to as Exhibit “A”).

        3.      On June 23, 2019 Debtor/Defendant filed an emergency Order to Show Cause in the

 New York Supreme Court Appellate Division, Second Department, Docket No. 2019-7103, to stay

 a foreclosure sale of her home which was scheduled for June 26, 2019. The Appellate Division,

 Second Department denied the stay but scheduled a hearing on the motion for July 1, 2019, after

 the sale was scheduled to take place.

        4.      On June 25, 2019, the Debtor filed an emergency voluntary Petition for relief under

 Chapter 13 of the Bankruptcy Code to stop the foreclosure sale of her home which was scheduled

 for June 26, 2019.

 Debtor Seeks a Determination that the Automatic Stay does not apply to this Appeal:

        5.      In order to facilitate the perfection of the pending Appeal in the New York

 Appellate Division, Debtor seeks an Order by the Bankruptcy Court to lift the Automatic Stay,

 pursuant to 11 U.S.C. § 362 to the extent to allow the determination of the Order to Show Cause

 and the Appeal and that the New York Supreme Court, Appellate Division, Second Department can

 proceed to oral argument and decision.

        6.      The Appellate Division, Second Department will not proceed with the instant Order

 to Show Cause and the Appeal unless it receives an Order from the Bankruptcy Court Judge that

 the Bankruptcy Stay under § 362 has been lifted to permit the prosecution of the Appeal. (See letter

 from the Appellate Division annexed hereto as Exhibit B).

        7.      Therefore, the Appeal cannot go forward, without Bankruptcy Court approval, while

 the bankruptcy case is open.

 Legal Basis



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       8.      The Court in In re: 1 Luigi Zucaro, aka Louis Zucaro Case No. 1-14-41440-nhl,

 EDNY, Judge Nancy Hershey Lord held as follows:

               “Relief From The Automatic Stay Pursuant To 11 U.S.C. § 362(D)

               Courts have broad discretion in granting stay relief. In re Bennett Funding
               Group, Inc., 212 B.R. 206, 211 (2d Cir. 1997) (citing Manhattan King
               David Restaurant, Inc. v. Levine, 163 B.R. 36, 40 (S.D.N.Y. 1993). The
               automatic stay may be modified “for cause” pursuant to 11 U.S.C. §
               362(d)(1). The movant bears the initial burden of showing “cause.” In re
               Mazzeo, 167 F.3d 139, 142 (2d Cir. 1999). If a sufficient showing is
               made, the burden shifts to the debtor to demonstrate that there is
               insufficient “cause” to modify the stay. In re Anton, 145 B.R. 767, 769
               (Bankr. E.D.N.Y. 1992). Though “cause” is not defined in the Bankruptcy
               Code, bankruptcy courts and the legislative history note that “[a] desire to
               permit an action to proceed to completion in another tribunal may
               provide…cause.” Id. at 769 (quoting H.R.Rep. No. 595, 9 Cong., 1st Sess.
               343–44 (1977), reprinted in 1978, U.S.Cong. & Admin.News 5787, 6300;
               S.Rep. 95–989, 95th Cong.2d Sess., 52–3 (1978))

               The Second Circuit has adopted a list of twelve factors (the “Sonnax
               Factors”) to determine whether cause exists to lift the automatic stay to
               allow a stayed proceeding to continue in state court. In re Sonnax Indus.,
               Inc., 907 F.2d 1280, 1286 (2d Cir. 1990). They are:

               (1)    whether relief would result in a partial or complete
                      resolution of the issues;
               (2)    lack of any connection with or interference with the
                      bankruptcy case;
               (3)    whether the other proceeding involves the debtor as a
                      fiduciary; (4) whether a specialized tribunal with the
                      necessary expertise has been established to hear the cause
                      of action;
               (4)    whether the debtor's insurer has assumed full responsibility
                      for defending it;
               (5)    whether the action primarily involves third parties; (7)
                      whether litigation in another forum would prejudice the
                      interests of other creditors; (8) whether the judgment claim
                      arising from the other action is subject to equitable
                      subordination; (9) whether movant's success in the other
                      proceeding would result in a judicial lien avoidable by the
                      debtor; (10) the interests of judicial economy and the
                      expeditious and economical resolution of litigation; (11)
                      whether the parties are ready for trial in the other
                      proceeding; and (12) impact of the stay on the parties and
                      the balance of harms.
                      Id.


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               A movant need not satisfy every one of the twelve factors. In re Mazzeo,
               167 F.3d at 143; In re Burger Boys, Inc., 183 B.R. 682, 688 (S.D.N.Y.
               1994). The court should weigh the particular circumstances of each case to
               reach the solution that is most just to all parties. In re Keene Corp., 171
               B.R. 180, 183 (Bankr. S.D.N.Y. 1994).

               Permissive Abstention Pursuant to 28 U.S.C. § 1334(c)

               Permissive abstention is the doctrine that:

               Nothing in this section prevents a district court in the interest of justice, or
               in the interest of comity with State courts or respect for State law, from
               abstaining from hearing a particular proceeding arising under title 11 or
               arising in or related to a case under title 11.

               28 U.S.C. § 1334(c)(1). A court may grant permissive abstention in a core
               or non-core proceeding. In re Taub, 417 B.R. 186, 191 (Bankr. E.D.N.Y.
               2009). In deciding whether to apply permissive abstention, a bankruptcy
               court considers:

                       ‘(1) the effect or lack thereof on the efficient
                       administration of the estate if a Court recommends
                       abstention, (2) the extent to which state law issues
                       predominate over bankruptcy issues, (3) the difficulty or
                       unsettled nature of the applicable state law, (4) the presence
                       of a related proceeding commenced in state court or other
                       nonbankruptcy court, (5) the jurisdictional basis, if any,
                       other than 28 U.S.C. § 1334, (6) the degree of relatedness
                       or remoteness of the proceeding to the main bankruptcy
                       case, (7) the substance rather than form of an asserted
                       ‘core’ proceeding, (8) the feasibility of severing state law
                       claims from core bankruptcy matters to allow judgments to
                       be entered in state court with enforcement left to the
                       bankruptcy court, (9) the burden [on] the court’s docket,
                       (10) the likelihood that the commencement of the
                       proceeding in a bankruptcy court involves forum shopping
                       by one of the parties, (11) the existence of a right to a jury
                       trial, and (12) the presence in the proceeding of nondebtor
                       parties.’

               In Re International Tobacco Partners, Ltd., 462 B.R. 378, 392 (Bankr.
               E.D.N.Y. 2011); In re Horowitz, No. 09-75567, 2010 WL 814103, at *4
               (Bankr. E.D.N.Y. Mar. 1, 2010); In re Cole, 382 B.R. 20, 29 (Bankr.
               E.D.N.Y. 2008); In re Worldcom Inc. Sec. Litig., 293 B.R. 308, 332
               (Bankr. S.D.N.Y. 2003). Although these are the factors that are generally
               considered, a court may utilize any number of factors to determine
               whether it should abstain. See e.g. Barbaro v. Wider (In re Wider), No.
               09-72992, 2009 WL 4345411, at *2 (Bankr. E.D.N.Y. Nov. 30, 2009)
               (‘[bankruptcy courts have considered one or more – although not
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                necessarily all – of twelve factors’); In re Exeter Holding, Ltd., No. 11-
                77954, 2013WL 1084548, at *4 (Bankr. E.D.N.Y. Mar 14, 2013) (finding
                that permissive abstention is warranted where seven of the twelve factors
                are present); In re Cody, Inc., 281 B.R. 182, 190 (S.D.N.Y. 2002) (courts
                ‘have considered one or more (not necessarily all) of twelve factors’).
                Ultimately, the decision of whether to permissively abstain is within the
                bankruptcy court’s sound discretion. In re Abir, No. 09 CV 2871, 2010
                WL 1169929, *7 (Bankr. E.D.N.Y. March 22, 2010).”

 Debtor’s Facts as they apply to the case law

        9.      In the foreclosure action that was pending in the Supreme Court, Rockland

 County, Debtor moved to dismiss the action because she was never served with process and

 therefore the court lacked jurisdiction.

        10.     The Supreme Court denied Debtor’s motion despite her sworn affidavit that she

 was not even home at the time of service but at her mother's house who was ill with cancer.

        11.     In the event the debtor is successful in her appeal, then the statute of limitations in

 which to foreclose on the debtor’s property will have expired and therefore the mortgage lender

 will have no secured claim in this bankruptcy case.

        12.     Allowing the instant Appeal to proceed satisfies the following factors set forth in

 In re Sonnax Indus., Inc., 907 F.2d 1280, 1286 (2d Cir. 1990):

                (6)     The resolution of the Appeal would allow the
                        determination whether Debtor’s property is secured by a
                        lien or not, and whether US Bank will have any claim in
                        this Bankruptcy case.
                (7)     the interests of judicial economy would be served because,
                        without a speedy decision in the Appellate Division, Debtor
                        will not be able to formulate his Chapter 13 Plan.
                (8)     The parties are ready to perfect the Appeal in the Appellate
                        Division
                (9)     There will only be a delaying impact on all other parties
                        and creditors until the Appeal is decided.


        13.     The New York State Supreme Court, Appellate Division, is more familiar with the

 instant appellate issues and is well situated to make a determination in the instant case.



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        WHEREFORE, Debtor respectfully requests that the Court lift the Automatic Stay to the

 extent necessary to conclude the Appeal.

 Dated: Rockland County, New York
        August 22, 2019

                                            LAW OFFICES OF ALLEN A. KOLBER, ESQ.

                                            /s/ Allen A. Kolber
                                                ALLEN A. KOLBER, ESQ.
                                                Attorney for Debtor
                                                134 Rt. 59
                                                Suffern, NY 10901
                                                (845) 918-1277




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 UNITED STATES BANKRUPTCY COURT
 SOUTHERN DISTRICT OF NEW YORK
 -------------------------------------------------------------X
 In re:

 PAULETTE FRANCESE,                                                     Chapter 13

                                     Debtor.                            Case No. 19-23205(shl)
 -------------------------------------------------------------X

 ORDER GRANTING MOTION FOR RELIEF FROM THE AUTOMATIC STAY
 AND PERMISSIVE ABSTENTION RELATING TO THE APPEAL OF
 FEDERAL NATIONAL MORTGAGE ASSOCIATION, PLAINTIFF/RESPONDENT V.
 PAULETTE FRANCESE, ET AL., DEFENDANTS/APPELLANTS, PENDING IN THE NEW
 YORK SUPREME COURT, APPELLATE DIVISION, SECOND DEPARTMENT
 APPEAL DOCKET NO. 2019-7103


         UPON the Debtor’s Motion filed August 22, 2019 for an Order pursuant to 11 U.S.C.

 § 362 and 28 U.S.C. §§ 1334(c) and 1452(b), determining that the instant Automatic Stay be lifted to

 the extent to determine the decision in the Order to Show Cause and appeal of Federal National

 Mortgage Association., Plaintiff/Respondent v. Paulette Francese, et al., Defendants/Appellants,

 pending in the New York Supreme Court Appellate Division, Second Department, Docket No. 2019-

 7103; and all parties who have filed a Notice of Appearance in this case having been given due and

 sufficient notice of the Motion; and upon the record of the hearing on the Motion ; and there being no

 opposition to the Motion; and after due deliberation, it is hereby

         ORDERED that the instant Automatic Stay be lifted to the extent to allow the determination

 and decision of the Order to Show Cause and to conclude the subject appeal of Federal National

 Mortgage Association v. Paulette Francese, et al., Defendants/Appellants, pending in the New York

 Supreme Court Appellate Division, Second Department, Docket No. 2019-7103; and it is further

         ORDERED that the Motion is granted to the extent set forth herein.

 Dated: White Plains, New York
        ______________, 2019

                                                                  HON. SEAN H. LANE
                                                                  U.S. Bankruptcy Judge
                                                         11
